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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

     UNITED STATES OF AMERICA,                    Criminal No. 04-290(2) (JRT/FLN)
                                                      Civil No. 06-2974 (JRT)
                                   Plaintiff,

     v.
                                                              ORDER
     JASON ALAN HIGDAY,

                                 Defendant.



          David P. Steinkamp, Assistant United States Attorney, OFFICE OF THE
          UNITED STATES ATTORNEY, 600 United States Courthouse, 300
          South Fourth Street, Minneapolis, MN 55415, for plaintiff.

          Jason Alan Higday, FCI-Victorville, #72287-080, P.O. Box 5700,
          Adelanto, CA 92301, defendant pro se.


          On July 10, 2006, petitioner Jason Alan Higday (“Higday”) filed this motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255.         Higday

subsequently filed a request for an extension of time in which to file a memorandum in

support of his § 2255 motion. This Court granted the request, stating that the § 2255

motion would be dismissed without prejudice if Higday failed to file the memorandum

within thirty days. Higday filed a second motion for an extension of time on June 1,

2007. This Court granted the motion on June 12, 2007, allowing Higday an additional

sixty days to file the memorandum.




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      The sixty-day extension has now expired, and Higday has yet to file a

memorandum in support of his § 2255 motion. In accordance with this Court’s prior

orders, the Court finds that Higday’s § 2255 motion should be dismissed.


                                       ORDER

      Based on the foregoing, all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Higday’s motion to vacate, set aside, or correct the sentence

under 28 U.S.C. § 2255 [Docket No. 178] is DISMISSED.




DATED: September 6, 2007                             s/ John R. Tunheim         _
at Minneapolis, Minnesota.                           JOHN R. TUNHEIM
                                                   United States District Judge




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